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 8                             UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   SOUTHERN DIVISION
11
                                                 )
12                                               )
                                                 )     Case No.: SACV 21-00502-CJC(JDEx)
13    JOHN BAI,                                  )
                                                 )
14                                               )
                  Plaintiff,                     )
15                                               )     ORDER GRANTING DEFENDANT’S
            v.                                   )     MOTION TO COMPEL
16                                               )     ARBITRATION [Dkt. 8] AND
                                                 )     STAYING ACTION PENDING
17                                               )     RESOLUTION OF ARBITRATION
      OUTDOORSY, INC. and DOES 1‒10,             )
18                                               )
                                                 )
19                                               )
                  Defendant.                     )
20                                               )
                                                 )
21                                               )
                                                 )
22

23
      I. INTRODUCTION
24

25
            Plaintiff John Bai brings this action against Defendant Outdoorsy, Inc. and
26
      unnamed Does. (Dkt. 1-1 [Complaint, hereinafter “Compl.”].) Now before the Court is
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 1    Defendant’s motion to compel Plaintiff to arbitrate his claims. (Dkt. 8-1 [hereinafter
 2    “Mot.”].) For the following reasons, that motion is GRANTED.1
 3

 4    II. BACKGROUND
 5

 6           A.     Plaintiff’s Allegations
 7

 8           Defendant operates a website which allows recreational vehicle (“RV”) owners to
 9    offer their RVs for rent to third-parties. (Compl. ¶¶ 26‒27.) In May 2019, Plaintiff listed
10    his RV for rent on Defendant’s website which was booked shortly thereafter. (Id.)
11    Plaintiff received a copy of the rental receipt which listed various charges including a
12    “Peace of Mind Protection Package,” “$1M Liability Coverage,” “Damage Protection,”
13    and an “Outdoorsy Fee.” (Id. ¶ 29.) When Plaintiff’s RV was returned, Plaintiff
14    discovered there was a dent on the exterior of the vehicle and significant engine damage.
15    (Id. ¶ 30.) Plaintiff made an insurance claim with Defendant for the damages, but
16    Defendant denied that the vehicle had insurance coverage. (Id. ¶ 31.) Plaintiff alleges
17    that he was misled by Defendant’s representations that damages caused by renters would
18    be covered by insurance. (Id. ¶¶ 42‒46.) As a result, Plaintiff paid over $13,000 for
19    repairs out-of-pocket. (Id. ¶ 33.)
20

21           Based on these allegations, Plaintiff asserts claims for (1) violation of the
22    California False Advertising Act and (2) violation of California’s Unfair Competition
23    Law. (See generally id.) Soon after the Complaint was filed, Defendant moved to
24    compel arbitration. (See Mot.)
25

26

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      1
       Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28    for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
      for May 17, 2021, at 1:30 p.m. is hereby vacated and off calendar.
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 1          B.     Defendant’s Arbitration Policy
 2

 3          Defendant’s motion to compel arbitration concerns the Arbitration Agreement in
 4    Defendant’s Terms & Conditions. This agreement states:
 5

 6
            IMPORTANT: PLEASE REVIEW THE ARBITRATION AGREEMENT
            SET FORTH BELOW CAREFULLY, AS IT WILL REQUIRE YOU TO
 7          RESOLVE PAYMENT AND INSURANCE DISPUTES WITH
 8
            OUTDOORSY AND OTHER PARTIES ON AN INDIVIDUAL BASIS
            THROUGH FINAL AND BINDING ARBITRATION. BY ENTERING
 9          THIS AGREEMENT, YOU EXPRESSLY ACKNOWLEDGE THAT YOU
10
            HAVE READ AN UNDERSTAND ALL OF THE TERMS OF THIS
            AGREEMENT AND HAVE TAKEN TIME TON CONSIDER THE
11          CONSEQUENCES OF THIS IMPORTANT DECISION. . . .
12
            You and Outdoorsy agree that any dispute, claim or controversy related
13          specifically to a payment or insurance claim, under $25,000 in value arising
14          out of or relating to the company’s Terms . . . shall be settled by binding
            arbitration . . . and not in a court of law. . . .
15

16          However, you and Outdoorsy each retain the right to seek injunctive or other
            equitable relief in a court of competent jurisdiction relating to any dispute
17          that is properly the subject of this arbitration agreement.
18

19
      (Dkt. 8-4 [Declaration of Richard Sanders, hereinafter “Sanders Decl.”] Ex. 1 [Terms &

20
      Conditions] at 30‒31 [hereinafter “Arbitration Agreement”].) The Arbitration Agreement

21
      is not mandatory, allowing Plaintiff to opt out “by emailing [Defendant] and stat[ing] ‘I

22
      opt out of arbitration’ in the email at the earlier of (i) within 30 days of first registering

23
      your account, or (ii) prior to any dispute arising with Outdoorsy.” (Id. at 31.) The

24
      dispute resolution section also contains a separate class-action waiver which precludes

25
      Plaintiff “from bringing [or participating in] any class, collective, or representative action

26
      against Outdoorsy.” (Id.)

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 1    III. LEGAL STANDARD
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 3          Under the Federal Arbitration Act (“FAA”), a “written provision in any . . .
 4    contract evidencing a transaction involving commerce to settle by arbitration a
 5    controversy . . . shall be valid, irrevocable, and enforceable, save upon such grounds as
 6    exist at law or in equity for the revocation of the contract.” 9 U.S.C. § 2. The FAA is “a
 7    congressional declaration of a liberal federal policy favoring arbitration agreements.”
 8    Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983). In light of
 9    this, “any doubts concerning the scope of arbitrable issues should be resolved in favor of
10    arbitration.” Id. at 24–25. The FAA “leaves no place for the exercise of discretion by a
11    district court, but instead mandates that district courts shall direct the parties to proceed
12    to arbitration on issues as to which an arbitration agreement has been signed.” Dean
13    Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (emphasis in original). This
14    Court’s role is limited to determining “(1) whether a valid agreement to arbitrate exists
15    and, if it does, (2) whether the agreement encompasses the dispute at issue.” Kilgore v.
16    KeyBank, N.A., 718 F.3d 1052, 1058 (9th Cir. 2013) (en banc) (citation omitted); see also
17    9 U.S.C. § 2.
18

19    IV. ANALYSIS
20

21          The Arbitration Agreement encompasses the dispute at issue because Plaintiff’s
22    claims “fall[] within the scope of the parties’ agreement to arbitrate.” See Chiron Corp.
23    v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126, 1131 (9th Cir. 2000). The Terms &
24    Conditions’ Arbitration Provision covers “any dispute, claim or controversy related
25    specifically to a payment or insurance claim, under $25,000 in value arising out of or
26    relating to the company’s Terms.” (Arbitration Provision.) This clause plainly covers
27    Plaintiff’s claims, which relate to Defendant’s insurance coverage for damage to
28    Plaintiff’s RV. (See generally Compl.) Plaintiff does not argue otherwise. Instead,

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 1    Plaintiff argues that the Arbitration Agreement should be invalidated under California
 2    law concerning public injunctive relief. (See generally Dkt. 9 [Plaintiff’s Opposition,
 3    hereinafter “Opp.”].)
 4

 5          Plaintiff argues that the Arbitration Agreement is invalid because it “prohibits
 6    Plaintiff from seeking public injunctive relief.” (Opp. at 6‒7.) “[T]he California
 7    Supreme Court held that no one can contractually waive all rights to seek public
 8    injunctive relief.” DiCarlo v. MoneyLion, Inc., 988 F.3d 1148, 1152‒53 (9th Cir. 2021)
 9    (citing McGill v. Citibank, N.A., 2 Cal. 5th 945, 961 (2017)). “Thus, any contract that
10    bars public injunctive relief in both court and arbitration is invalid.” Id. at 1153 (citing
11    McGill, 2 Cal. 5th at 961).
12

13          However, nothing in the Arbitration Agreement prevents Plaintiff from seeking
14    public injunctive relief. Indeed, the Agreement provides that “[Plaintiff] and Outdoorsy
15    each retain the right to seek injunctive or other equitable relief in a court of competent
16    jurisdiction.” (Arbitration Agreement.) Further, a class-action waiver does not prevent
17    Plaintiff from obtaining a public injunction. See DiCarlo, 988 F.3d at 1156 (“The McGill
18    court made clear that a litigant proceeding as an ‘individual’ ‘on his or her own behalf’
19    may ‘request[] public injunctive relief.’” (quoting McGill, 2 Cal. 5th at 959)). Because
20    public injunctive relief remains available to Plaintiff, the Arbitration Agreement is not
21    invalid. See DiCarlo, 988 F.3d at 1158.
22

23          Because Defendant’s Arbitration Agreement is valid and encompasses the disputes
24    at issue, the Court will enforce its terms. See Kilgore, 718 F.3d at 1058. Accordingly,
25    Defendant’s motion to compel arbitration is GRANTED. The FAA directs district courts
26    to stay all proceedings pending completion of arbitration. See 9 U.S.C. § 3. And the
27    Ninth Circuit has expressed a “preference for staying an action pending arbitration rather
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 1    than dismissing it.” MediVas, LLC v. Marubeni Corp., 741 F.3d 4, 9 (9th Cir. 2014).
 2    Accordingly, the Court will STAY the case pending resolution of arbitration.
 3

 4    V. CONCLUSION
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 6          For the foregoing reasons, Defendant’s motion to compel arbitration is
 7    GRANTED. The case is STAYED, pending resolution of arbitration.
 8

 9          DATED:      April 30, 2021
10
                                                  __________________________________
                                                       CORMAC J. CARNEY
11                                                UNITED STATES DISTRICT JUDGE
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